Case 2:04-cv-02426-BBD-dl<v Document 48 Filed 07/05/05 Page 1 of 8 Pagel_D 35 _

iN THE uNrTED sTArEs DisTRicT couRT ""~E° BY ~@€F_ D~G
FoR THE wEsTERN DisTRlcT ol= TENNEssEE
wEsTERN DivisioN 05 JUL ‘5 P-H l+= lil
EQuAL EMPLovrleNT oPPoRruNiTY )
coMivussioN, ) o'%US Dmmmm
, OFTJ"£ §§B}H'IS
Praimirf, } civn_ AcrloN No.
l
v. ) 04-2426-0 v
l
AJAY THEATERs, LLc y
drbla HoLLonoD 20 ciNEcle, )
l
Defendant. )

 

CONSENT DECREE

 

This lawsuit was filed June 7, 2004 by the Equal Employment Opportunity
Commission (EEOC) against Ajay Theaters‘ LLC doing business as Ho|lywood 20 Cinema
(Ajay) under Title Vll of the Civil Rights Act of 1964, as amended, 42 U.S_C. Section
2000e _e; _s_e_q. (Tit|e V|l). The Comp|aint in this lawsuit claims that Ajay discriminated
against Susan Johnson, Shannon l\/chugh, Amy Shook, Sarah Allen, Sarah Morris,
Jennifer Tichenor, Taryn Lamberth, Samantha Ransdell, and Andria |\lledina1 because of
their sex, by subjecting them to sexual harassment and by constructively discharging some
of them_

EEOC and Ajay have agreed to this consent decree to settle all of the claims
involved in this lawsuit

The Court has reviewed the Iterms of this decree in light of the applicable laws and

regulations, and hereby approves this decree THEREFORE, it is hereby ORDERED:

  
 

Thls document entered on the docket sheet pll 255
with Flu|e 58 and/or 79(3) FFiCP on .

 

Case 2:04-cv-02426-BBD-dl<v Document 48 Filed 07/05/05 Page 2 of 8 PagelD 36

l. JURISD|CT|ON

The United States District Court for the Western District of Tennessee, Western
Division, has jurisdiction over the parties and subject matter of this lawsuit, and will retain
jurisdiction over this decree for purposes of enforcement and dispute resolution.

l|. D|SCLAllViER

Neither the negotiation of nor agreement to this decree is an admission or
acknowledgment by Ajay that any of its employees1 otiicers, directors, or agents have
violated Title Vl|_

ill. DURAT|ON OF DECREE

This decree will be binding on the parties to this lawsuit for one year after the date

of its entry by the Court.
lV. lNJUNCTIVE REL|EF

Ajay, its supervisors, managers, officers, directors, agents, and successors are

enjoined from sexually harassing employees in violation of Title Vll.
V. lNDlViDUAL RENIED|ES

Ajay will pay a total of $75,000.00 in monetary damages, as directed by EEOC, to
Sarah Allen, Susan Johnson, Taryn Lamberth, Shannon Nchugh, Andria lVledina, Sarah
|Vlorris, Samantha Ransdel|‘ Amy Shool<` and Jennifer Tichenor, within thirty days after
receipt of the payment instructions from EEOC. The payments will be made by mailing
checks to the individuals at the addresses which will be provided by EEOC. A copy of the

checks (front and back), will be mailed at the same time to:

Case 2:04-cv-02426-BBD-dl<v Document 48 Filed 07/05/05 Page 3 of 8 PagelD 37

Carson L. Owen, Senior Triai Attorney
Equai Employment Opportunity Commission
1407 Union Ave., Suite 621
l\/lemphis, TN 38104
Vi. TRAlNlNG
Within thirty days after receiving a copy of this decree entered by the Court, Ajay will
provide training for all of its employees concerning the responsibility of all employees not
to harass other employees and to report promptly any harassment which occurs. This
training will also address the responsibility of supervisors and managers to deal quickly,
effective|y, and fairly with any harassment found to have occurred, and not to retaliate
against employees for complaining about unlawful harassment or filing charges with
EEOC. Within twenty days after the completion of this training, Ajay will submit a report
to Carson Owen, at the address indicated above. confirming that this training has occurred
V||. POLICY PROH|BIT|NG HARASSMENT
The policy prohibiting harassment which is attached to this decree will be complied
with by Ajay. Each employee will be required to read and sign a copy of this policy, and will
be given a copy of the policy Within thirty days after receiving a copy of this decree
entered by the Court, Ajay will submit a report to Carson Owen, at the address indicated
above, confirming that this requirement has been complied with. Thereafter, whenever a

new employee is hired` he or she will be required to read and sign a copy of this policy, and

will be given a copy of the poiicy.

Case 2:04-cv-02426-BBD-dl<v Document 48 Filed 07/05/05 Page 4 of 8 PagelD 38

Vlll. REPORTING
Ajay will submit a report to Carson L. Owen, at the address indicated above, six
months after the entry of this decree, and every six months thereafter during the duration
of this decree. Each report will describe all complaints received from employees employed
at Ho|lywood 20 Cinema concerning harassment at work, including the name, home
address, and home telephone number of each employee who complained, the nature of
the complaint What action, if any, was taken in response to the complaint, and if no action
Was taken an explanation of why no action was taken.
|X. POST|NG OF NOT|CE
Within ten days after receiving a copy of this decree entered by the Court, Ajay will
post the notice attached to this decree for thirty days in a conspicuous place upon its
premises where notices to employees are customarily posted Within fifty days after
receiving a copy of this decree entered by the Court` Ajay Will send a letter to Carson
Owen, at the address indicated above verifying that this requirement has been complied
with_
X. ATTORNEY'S FEES AND COSTS
EEOC and Ajay wii| each bear their own attorney’s fees and costs incurred in this

lawsuit

so oRDEREoihiS tj’ `day of %“L? ,2005.

`ERNrcE B. oNAi_D
LrNirEo sTATEs oisTRicT Juoee

 

Case 2:04-cv-02426-BBD-dl<v Document 48 Filed 07/05/05 Page 5 of 8 PagelD 39

Consented to on behaif of the respective parties:

FOR PLAINTlFF EEOC:

ER|C S. DREIBAND
General Counsel

JAMES LEE

Deputy General Counsel

GWENDOLYN YOUNG REANIS
Associate General Counsel

L,l

KATHARlNE W. KORES
Regiona| Attorney
Tennessee Bar No. 006283

    

Supervisory Tria| Attorney
Tennessee Bar No. 011730

CAR ON L. OWEN

Senior Trial Attorney
Tennessee Bar No. 009240

 

EQUAL EI\llPLOY|ViENT OPPORTUNiTY
COMN||SS|ON

1407 Union Avenue, Suite 621

Nlemphis, Tennessee 38104

Telephone No. (901) 544-0133

FOR DEFENDANT:

@<9_ @./@é,__

DEEPAK A. KESHANI
Chief l\/lanager, Ajay Theaters LLC
d/b/a Ho|lywood 20 Cinema

vALERiE B. s`iSEAKMAN

JACKSON SHlELDS YE|SER HOLT
SPEAKN|AN & LUCAS

262 German Oak Dr.

l\llemphis, TN 38018

Telephone No. (901) 754-8001

ATTORNEYS FOR DEFENDANT

Case 2:04-cv-02426-BBD-dl<v Document 48 Filed 07/05/05 Page - of

      
     

edens_ l%i£l
EXHIB|T racial
5 ‘\Q ~ 0 5

HARASSMENT POLICY

HARASSMENT OF EMPLOYEES
(Sexual, Racial, Ethnic, Religious)

l. PtLrpose. We strive for a working environment for employees that is free from sexual,

b.)

racial, ethnic, and religious harassment It shall be a violation of this policy for any
employee to participate in harassment activities exhibited through disparaging conduct or
communication that is sexual, racial, ethnic or religious in nature. The following guidelines
are set forth to create an appropriate working environment

Policy. Harassment of employees will not be tolerated Harassment is defined as conduct,

advances, gestures, words (or pictures) either written or spoken of a sexual, racial, ethnic
or religious nature Which:

a Unreasonable interfere with an individual’s work or performance;

b. Create an intimidating, hostile or offensive work environment;

c. Imply that submission to such conduct is made an explicit or implicit term of
employment; or

d. Imply that submission to or rejection of such conduct will be used as a basis for an
employment decision affecting the harassed employee

Alleged victims of sexual, racial, ethnic or religious harassment shall report these
incidents immediately This report should be made to the immediate supervisor except
when the immediate supervisor is the offending party. If the immediate supervisor is
the offending party, the report may be made to Deepak Keshani at 901-763-1405 Ext
13 or P O Box 772097, Memphis, TN 38177. Allegations of harassment will be
investigated An oral complaint may be submitted, however, such complaint may be
reduced to writing to assist in a more comlete investigation The complaint should
include the following information

ldentity of the alleged victim and the person accused; location, date, time and
circumstances surrounding alleged incident; description of what happened; identity of
witnesses; and, any other evidence available.

Questions. Any questions regarding this policy should be addressed with Deepak Keshani.

Investigation All Complaints will be investigated, and information will be treated as
contidentially as necessary for the investigation Where investigation confirms the
offensive behavior, prompt corrective action will be taken

No Reprisals- There will be no retaliation against any person who reports harassment or
participates in an investigation However, any employee who refuses to cooperate or gives
false information during the course of an investigation may be subject to disciplinary
action The willful filing of a false report will itself be considered harassment and will be
treated as such.

Other Forms. Other forms of harassment, even though not speciafically listed above,
should also be reported and will subject the offending employee to disciplinary action up to
and including discharge

 

 

 

_-r- _-"""_’“_‘_'_""-¢--_'__'_‘”‘"'__'___F__-_F__-_‘
line-Wi- \"¢c-o\O~sz\-.\r"d~m+os£ W‘J lr\c~»f?;.§$m€¢-‘!' go\ic»\ WVQ_I lmch \GPM"¢[’>\V`V‘ Q“C'°{j"'\ 04
~M..;e Po\icv\ ‘co law \¢\ y-..\ pp gs¢g;r,`\or- , NWpr-,M¢_A/$;§mofe_./bd<__,

Case 2:04-cv-02426-BBD-dl<v Document 48 Filed 07/05/05 Page 7 of 8 PagelD 41

NOTlCE

EEOC enforces Title Vli of the Civil Rights Act of 1964 (Title Vll), which prohibits
employment discrimination based on race, color, religion, sex (including sexual
harassment), or national origin; the Age Discrimination in Employment Act; the Equa|
Pay Act; sections of the Civi| Rights Act of 1991; and Title l of the Americans With
Disabilities Act, which prohibits discrimination against people with disabilities
Hol|ywood 20 supports these Federal laws in all respects

Three former employees of ours filed charges With EEOC complaining that they
had been sexually harassed by their managers and a co-worker. VVe have denied
those claims EEOC filed a lawsuit against us based on the charges

The lawsuit has now been concluded VVe do not now or ever wanted any
employee to feel they have been harassed VVe have trained our managers about their
responsibilities not to harass employees to report all complaints about harassment to
respond quickly, effective|y, and fairly whenever harassment is found to have occurred
and not to retaliate against employees who complain We have a harassment policyl
and all of you have seen it and signed it. We will not tolerate harassment of anyone in

the workplace lt is your responsibility to help us make sure no harassment occurs,

paQ/¢£_

Deepak Keshani, Chief Manager
Ajay Theaters LLC d/b/a Hollywood 20 Cinema

and, if it does, that it is reported

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:04-CV-02426 was distributed by faX, mail, or direct printing on
.luly 7, 2005 to the parties listed.

 

 

Faye A. Williams

EQUAL El\/lPLOYl\/IENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/lemphis7 TN 38104

Adam l\/l. Nahmias

JACKSON SH[ELDS YEISER HOLT SPEAKMAN & LUCAS
262 German Oak Dr.

1\/lemphis7 TN 38018

Valerie B. Speakman
JACKSON SH[ELDS YEISER HOLT SPEAKMAN & LUCAS
262 German Oak Dr.
1\/lemphis7 TN 38018

.l ames L. Holt

JACKSON SH[ELDS YEISER HOLT SPEAKMAN & LUCAS
262 German Oak Dr.

1\/lemphis7 TN 38018

Katharine W. Kores

EQUAL El\/lPLOYl\/IENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/lemphis7 TN 38104

Carson L. Owen

EQUAL El\/lPLOYl\/IENT OPPORTUNITY COMMISSION
1407 Union Avenue

Ste. 621

1\/lemphis7 TN 38104

Honorable Bernice Donald
US DISTRICT COURT

